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 1                                                        HONORABLE JOHN C. COUGHENOUR
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 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT SEATTLE
10

11   CHARLES G. MOORE and KATHLEEN F.                    Civil Action No. 2:19-cv-01539 JCC
     MOORE,
12                                                       PLAINTIFFS’ RESPONSE IN
                     Plaintiffs,                         OPPOSITION TO DEFENDANT’S
13                                                       RULE 56(d) MOTION
            v.
14
     UNITED STATES OF AMERICA,
15
                     Defendant.
16

17

18          Plaintiffs Charles G. Moore and Kathleen F. Moore hereby respond in opposition to
19   Defendant’s Rule 56(d) motion.
20                                             Introduction
21          The Government’s Rule 56(d) motion should be denied because it has failed to meet its
22   “burden [under Rule 56(d)] of showing what facts [it] hopes to discover to raise a material issue
23   of fact.” Terrell v. Brewer, 935 F.2d 1015, 1018 (9th Cir. 1991) (quotation marks omitted). That
24   it may wish to “redetermine” the Moores’ 2017 income-tax liability by raising potential “offsets”
25   does not relieve it of that burden. To the contrary, when seeking to avoid summary judgment in a
26   tax-refund suit, the Government still bears the initial burden “to show that there is a reasonable
27
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      DEFENDANT’S RULE 56(d) MOTION - 1                                999 Third Avenue, Suite 3600
      CASE NO.: 2:19-CV-01539 JCC                                      Seattle, WA 98104-4040
                                                                       Telephone: (206) 332-1380
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 1   basis for its claim” and that its inquiry “is not a mere fishing expedition or a method of

 2   discouraging taxpayers from seeking refunds on meritorious claims.” Ahmanson Found. v. United

 3   States, 674 F.2d 761, 777 (9th Cir. 1981) (quotation marks omitted). Here, the Government’s

 4   perfunctory showing is practically an admission that revisiting the Moores’ 2017 return would be

 5   an aimless fishing expedition. On that basis, the motion should be denied.

 6                                               Argument
 7   I.     There Is No Basis for Discovery Respecting the Moores’ MRT Liability
 8          Because it is undisputed the Moores made a separate payment to satisfy their Mandatory
 9   Repatriation Tax (“MRT”) liability, and claim entitlement to a refund of precisely that amount,
10   there can be no genuine dispute of fact over the refund amount claimed by the Moores in the event
11   the Court holds the MRT unconstitutional. In addition, the Government has not met its burden to
12   identify any basis for discovery with respect to the amount of the Moore’s MRT liability or their
13   payment of that amount to the Government.
14          A.      There Is and Can Be No Genuine Dispute on the Moores’ MRT Payment and
                    Claimed Refund Amount
15
            “[A] party may file a motion for summary judgment at any time until 30 days after the
16
     close of all discovery.” Fed. R. Civ. P. 56(b). The Moores availed themselves of that opportunity
17
     by requesting judgment on their purely legal claim that the “Mandatory Repatriation Tax”
18
     (“MRT”) is unconstitutional. ECF No. 29. The Moores also presented evidence that they actually
19
     paid $14,729 in MRT liability and that they did so with an amended tax return filed in fall 2018.
20
     ECF No. 29-3 ¶ 29. This amended return was separate and distinct from the Moores’ initial tax
21
     return, which (due to their good-faith ignorance) did not include a payment of this tax. Id. The sole
22
     difference between the original tax return and the amended return was the inclusion of the income
23
     associated with the MRT, and the $14,729 payment can only relate to that tax. The Government
24
     does not deny that it received a $14,729 payment from the Moores to satisfy their MRT liability.
25
            Under clearly established law, these facts amply support summary judgment in the Moores’
26
     favor if the Court agrees that the MRT is unconstitutional. The Moores bore the summary-
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 1   judgment burden to “initially identify ‘those portions of the pleadings, depositions, answers to

 2   interrogatories, and admissions on file, together with the affidavits, if any, which [they] believe[]

 3   demonstrate the absence of a genuine issue of material fact.’” FTC v. Stefanchik, 559 F.3d 924,

 4   927 (9th Cir. 2009) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). The Moores did

 5   this by presenting their legal positions and a declaration stating that the Moores paid $14,729 in

 6   MRT liability, which must all be refunded if the tax is held unconstitutional. See In re Silicon

 7   Graphics Inc. Sec. Litig., 183 F.3d 970, 989 (9th Cir. 1999), as amended (Aug. 4, 1999) (finding

 8   uncontested affidavits sufficient to meet summary-judgment burden).

 9           From there, “the burden shifts to the non-moving party to set forth, by affidavit or as

10   otherwise provided in Rule 56, specific facts showing that there is a genuine issue for trial.”

11   Stefanchik, 559 F.3d at 928 (quoting Horphag Research Ltd. v. Garcia, 475 F.3d 1029, 1035 (9th

12   Cir. 2007)). The Government has not even attempted to meet that burden. See, e.g., Propstra v.

13   United States, 680 F.2d 1248, 1251 (9th Cir. 1982) (granting summary judgment in tax case where

14   the taxpayers presented affidavits and the Government “submitted no countervailing facts”). It

15   could have, for example, presented a declaration stating that the Government did not receive a

16   MRT payment from the Moores, that the payment was less than $14,729, or that the payment came

17   in a comingled form so that it was impossible for IRS officials to discern what portion was

18   attributable to the MRT. The Government made no such showing.

19           Accordingly, this purely legal case merits a purely legal result. There is no dispute of

20   material fact that $14,729 left the Moores’ possession and entered the Government’s possession

21   for the stated purpose of satisfying their MRT liability. And so there can be no dispute that, if the

22   tax is unconstitutional, the $14,729 must be returned to the Moores.

23           B.      The Government Fails To Establish a Basis for Discovery on the Amount the
                     Moores Paid To Satisfy Their MRT Liability
24           The Government invokes Rule 56(d) and asks the Court to put off a ruling on the Moores’
25   motion until after discovery, but it fails to show that it “cannot present facts essential to justify its
26   opposition.” Fed. R. Civ. P. 56(d). “The burden is on the party seeking additional discovery to
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 1   proffer sufficient facts to show that the evidence sought exists, and that it would prevent summary

 2   judgment.” Chance v. Pac–Tel Teletrac Inc., 242 F.3d 1151, 1161 n.6 (9th Cir. 2001).

 3   “Compliance with Rule 56[(d)] requires more than a perfunctory assertion that the party cannot

 4   respond because it needs to conduct discovery.” Adams v. Allstate Ins. Co., 187 F. Supp. 2d 1207,

 5   1213 (C.D. Cal. 2002). “To prevail under this Rule, parties opposing a motion for summary

 6   judgment must make ‘(a) a timely application which (b) specifically identifies (c) relevant

 7   information, (d) where there is some basis for believing that the information sought actually

 8   exists.’” Employers Teamsters Local Nos. 175 & 505 Pension Tr. Fund v. Clorox Co., 353 F.3d

 9   1125, 1129 (9th Cir. 2004). “[T]he Rule requires affidavits setting forth with particularity: (1) why

10   the party opposing summary judgment cannot respond; (2) the particular facts that the party

11   reasonably expects to obtain in further discovery; and (3) how the information reasonably expected

12   from its proposed discovery requests could be expected to create a genuine issue of material fact

13   that would defeat the summary judgment motion.” Adams, 187 F. Supp. 2d at 1213 (collecting

14   cases).

15             The Government does not carry that burden. Its two-page declaration admits that the IRS

16   is in possession of the Moores’ original and amended tax returns. Golden Decl. ¶ 4. This

17   affirmatively refutes any contention that the Government “cannot respond.” Fed. R. Civ. P. 56(d)

18   (emphasis added); Adams, 187 F. Supp. 2d at 1213. If it has the returns, it can respond with any

19   discrepancy that exists. And its assertion that IRS agents are “still in the process of examining the

20   Moores’ returns,” Golden Decl. ¶ 5, is an admission that the Government has not “diligently

21   pursued discovery of the evidence,” ECF No. 34, at 3. It has not acted diligently if it has not even

22   completed review of the items that it concedes are in its possession. This omission is all the more

23   glaring insofar as the Government has ample authority to open an examination and make an

24   assessment independent of discovery in this case. See 26 U.S.C. §§ 6201(a) and 6211. Indeed, as

25   set forth in the Internal Revenue Manual, the IRS maintains extensive records on taxpayers, and,

26   by following detailed internal operating procedures, can obtain those records in order to

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 1   redetermine tax liability. IRM § 34.5.2.2. 1 It does not need discovery to obtain evidence to dispute

 2   whether the $14,729 was actually paid. And if the Government disputes that the Moores actually

 3   paid that sum, it could have said so, but this is plainly an issue within its own control and cannot

 4   be a reason why it “cannot respond” at this stage. Fed. R. Civ. P. 56(d) (emphasis added).

 5           Equally unavailing is the Government’s contention that it needs discovery into how the

 6   Moores “calculated the alleged refund amount.” Golden Decl. ¶ 6. The Moores do not claim to

 7   have calculated a refund amount at all; instead, the Moores contend that they actually paid $14,729

 8   to satisfy the MRT in a discrete payment made well after the Moores satisfied their other tax

 9   liability. ECF No. 29-3 ¶ 29. If the MRT is unconstitutional, then the only relevant “calculation”

10   is that the Moore’s MRT liability would be zero. That being so, the Moores would be entitled to a

11   return of the amount actually paid, the $14,729. No error in how that sum was calculated would

12   be material, because, whether or not the Moores calculated their MRT liability correctly, they

13   would be entitled to the return of the whole amount they paid to satisfy the MRT.

14           Accordingly, no calculation could constitute “a genuine issue of material fact that would

15   defeat the summary judgment motion.” Adams, 187 F. Supp. 2d at 1213; see also Employers

16   Teamsters, 353 F.3d at 1130 (holding that parties moving for discovery “were not entitled to

17   discovery bearing” on issues not raised in the summary-judgment motion). 2

18   II.     The Government Fails To Establish a Basis for Discovery on Other Aspects of the
             Moores’ Tax Return
19           Grasping at straws, the Government asserts a need for discovery “to redetermine [the
20   Moores’] 2017 tax liability” and “to raise any offsets” against the Moore’s claimed refund. ECF
21   No. 34, at 3. As a threshold matter, the Government does not establish why it “cannot respond”
22   with a material dispute of fact on these topics, and its powers to audit and the broad range of
23

24

25   1
       Available at https://www.irs.gov/irm/part34/irm_34-005-002.
     2
26     The United States’ own cited authority, Burlington N. Santa Fe R. Co. v. Assiniboine & Sioux Tribes of Fort Peck
     Reservation, 323 F.3d 767 (9th Cir. 2003), cuts against its position, because the case rejected discovery on an issue
27   that “bears no demonstrable nexus to the” issues raised on summary judgment. Id. at 774. So too here.
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 1   materials it already possesses establish that, if there really were a dispute of fact, the Government

 2   could respond at this stage.

 3          That aside, the Government is not entitled “to redetermine” the Moores’ 2017 tax liability

 4   or “to raise any offsets.” The Government presents no basis, not even a suggestion, that the Moores

 5   underpaid their 2017 income tax. Because the Government bears a threshold burden to “come

 6   forward with sufficient evidence to show that there is a reasonable basis for its claim,” Ahmanson

 7   Found., 674 F.2d at 777, its failure to identify any error whatsoever defeats its contention that the

 8   Moores’ return may be revisited in this case.

 9          Ninth Circuit law is clear that, in seeking to redetermine a tax liability in a refund suit, the

10   Government cannot simply point to the taxpayer’s ultimate burden to establish the correct amount

11   of liability and declare open season on all tax issues. It instead must meet the “burden of

12   establishing that its equitable setoff defenses to a tax refund suit are made in good faith and are

13   not completely lacking in substance.” Id. at 777. That, in turn, requires the Government to show

14   “that there is some substance to its claim and is not a mere fishing expedition or a method of

15   discouraging taxpayers from seeking refunds on meritorious claims.” Id. (quotation marks omitted

16   and emphasis added). And, “[i]f the government fails to make such a showing, then it may be

17   subject to summary judgment.” Id.; see also Tr. Servs. of Am., Inc. v. United States, 885 F.2d 561,

18   567 (9th Cir. 1989) (reaffirming this burden-shifting framework); Mahoney v. United States, 223

19   Ct. Cl. 713, 718, as amended 224 Ct. Cl. 668 (1980) (requiring the Government to present

20   “‘concrete and positive evidence’ before it initiates discovery into matters relevant only as to

21   establishment of offsets”).

22          Here, the Government effectively admits that it has no basis to suspect the Moores of tax

23   errors or underpayment that might support offset. Its sole contention is that “it is possible that the

24   Moores underreported income, took improper deductions or credits, or treated items inaccurately

25   in some other way that resulted in an underassessment of their income tax liabilities, separate from

26   the 26 U.S.C. § 965 dispute.” Golden Decl. ¶ 5 (emphasis added). This claim of mere possibility

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 1   reflects that the Government’s discovery request is premised on pure speculation and falls far short

 2   of establishing that “there is some substance to its claim” and that it “is not merely a fishing

 3   expedition.” Ahmanson, 674 F.2d at 777 (quotation marks omitted). Accordingly, it has failed to

 4   carry its Rule 56(d) burden.

 5   III.   The Government Fails To Establish Any Other Basis for Discovery
            The remainder of the Government’s perfunctory declaration simply asserts various forms
 6
     of discovery that exist under the Federal Rules but does not identify a basis to believe any
 7
     documents or testimony relevant to any material dispute exist. It asserts that the Moores’
 8
     accountant “likely has relevant information on the Moores’ calculation of their claimed refund and
 9
     on the Moores’ reporting of other items on their returns,” Golden Decl. ¶ 8, but none of this is
10
     material for reasons already stated. The Government does not dispute the amount it received from
11
     the Moores for the MRT, and it is not entitled to review “other items” without meeting its threshold
12
     burden. The same errors undermine the Government’s assertion that “written discovery” or
13
     “depositions” may help its case; because it has identified no particular case, there is nothing to
14
     support. Golden Decl. ¶¶ 6–8.
15
     IV.    At a Minimum, the Moores Are Entitled to Partial Summary Judgment
16
            Although the Government asks the Court to defer granting the Moore’s motion for
17
     summary judgment, it has identified no barrier to adjudicating the constitutionality of the MRT,
18
     an issue that necessarily affects the Moores’ 2017 tax liability. Instead, the Government’s
19
     assertions go solely to the amount of the refund to which the Moores would be entitled were they
20
     to prevail on the constitutional issue. Accordingly, even if the Court agrees with the Government
21
     that ordering a refund in the amount sought would be premature, it can and should still enter partial
22
     summary judgment on the lawfulness of the MRT and reach the issue of the refund amount at a
23
     later time. See Fed. R. Civ. P. 56(a) (authorizing summary judgment for any claim as to all or any
24
     part thereof); First Fin. Bank, N.A. v. Christensen, 2012 WL 2789020, at *2 (D. Nev. July 9, 2012)
25
     (granting partial summary judgment because, “while summary judgment is appropriate with
26

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 1   respect to the Guarantors’ liability, summary judgment as to damages is premature”); Paul v.

 2   Holland Am. Line, Inc., 463 F. Supp. 2d 1203, 1209 (W.D. Wash. 2006).

 3          Indeed, it is difficult to imagine how the Court could resolve the Government’s motion to

 4   dismiss—which asserts the constitutionality of the MRT—without also resolving the arguments to

 5   the contrary presented in the Moore’s summary judgment motion. The Government appears to

 6   recognize as much: despite requesting that the Court “defer[]” consideration” of the Moores’

 7   summary judgment motion, Mot. at 1, it asserts that it would need discovery only if the Court were

 8   to “deny the motion to dismiss or the Moores otherwise prevail on their constitutional challenge,”

 9   id. at 2 (emphasis added); see also id. at 3 (stating that the Government would need discovery only

10   “assuming the Moore[s] prevail on the [constitutional] issues”).

11                                              Conclusion

12          The Court should deny the Government’s motion.

13          DATED this 26th day of May, 2020.
14                                                  BAKER & HOSTETLER LLP
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 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that a true and correct copy of the foregoing document was served by
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     CM/ECF upon the following:
 4

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12
                                                  s/ Jennifer Hickman
13                                                Jennifer Hickman

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